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DANDREKA OF THE FAMILY GRIGGS,              Case No.:   CA/           33
vs,                                         Complaint Brought Under
                                            18 US.C.§242 For Deprivation of Rights
CITY OF LANETT,                             Under Color of Law,15 U.S.C. §52
                                            Dissemination of False Advertisements
LANETT POLICE DEPARTMENT,

               DefendaMs

                                 COMPLAINT
       Dandreka of the Family Griggs moves this Court for entry ofjudgment in his
favor against the Defendants who committed acts contrary to constitutional'
government institution purposes and duties. In support of this complaint arises
plausible and valid claims of deprivation of rights under color law. Whereas, Mr.
Griggs was forced to provide proof of his driver's license which resulted in
deprivation of his right to travel(Thompson vs Smith, 154 SE 579). The plaintiff
avers the following:

                                         Count 1.
         1. 18 U.S.C. §242 Deprivation of Rights Under Color of Law: FRE Rule 406
                                         Count 2.
         2. 15 U.S.C. §52 Dissemination of False Advertisements: FRE Rule 406


                                 JURISDICTION
         Under the United States Constitution and 42 U.S.0 Sections 1983 and 1988,
as amended this Court has jurisdiction in this matter pursuant to 28 U.S.0 §1331
and §1332. Griggs by inherent right invokes,fcderal jurisdiction, as subject-matter
jurisdiction of this Court for a jury to decide this case as he provides a plausible
cause of action resulting from the premeditated deprivation of his inherent rights
guaranteed by AL Constitution and United States Constitution, by federal
provisions that arise from federal statutes adopted by the state.

                                  NARRATIVE
      On or about February 08, 2019 Mr. Griggs was travelling east on S 5th St in
Lanett, AL. He came to a stop at the stop sign at the junction of S 5th St and S 8th
Ave. He proceeded to turn right traveling S towards Jennings Ave. Mr. Griggs was
then stopped by Officer Asim Hicks, who stated he failed to use his signal light
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before turning, resulting in Officer Hicks issuing Mr. Griggs a traffic citation. Hicks
then demanded Mr. Griggs to show his driver's license as proof that he can legally
operate a vehicle on street. These actions performed by Officer Hicks infringes upon
the rights of Mr. Griggs. Mr. Griggs was deprived of his right to travel in his own
personal vehicle when asked to provide his driver's license. As established in State
v Armstead,60 s. 778,779,and 781; the right to travel, the right to mode of
conveyance, and the right to locomotion are all absolute rights, and police cannot
make void the exercise of rights.

                                       Count 1
            18 U.S.C. §242 Deprivation of Rights Under Color of Law: FRE Rule 406
        Section 242 of Title 18 makes it a crime for a person acting under color of any
law to willfully deprive a person of a right protected by the Constitution or laws of
the United States. For the purpose of Section 242, acts under "color of lase include
acts not only done by federal, state, or local official within their lawful authority,
but also acts done beyond the bounds of that official's lawful authority, if the acts
are done while the official is purporting to or pretending to act in the performance of
his or her official duties. Persons acting under color oflaw within the mearling of
this statute include police officers, prison guards and other law enforcement
officials, as well as judges, care providers in public health facilities, and others who
are acting as public officials. It is not necessary that the crime be motivated by
animus toward the race, color, religion, sex, handicap, familial status or national
origin of the victim.
        The initial traffic stop made by Officer Hicks upon Mr. Griggs is deemed
illegal because no other vehicle was affected by the turn. Mr. Griggs was stopped at
the junction of S 8th Ave and S 5th St where his only option was to turn left or right.
Mr. Griggs proceeded to make a right turn onto S 8th Ave heading south towards
Jennings Ave. According to the supreme court ruling in State of Florida v. Todd
Riley, 625 So. 2d 1261, the court deemed a traffic stop for failing to use the turn
signal when making a right-hand turn was illegal because no other vehicle was
affected by the turn.
       During the stop, Officer Hicks requested to see Mr. Griggs driver's license
and Mt. Griggs complied. Traveling in an automobile on the public roads is not a
threat to public safety or health and constitutes no hazard to the public, and such a
traveler owes nothing more than due care to the public.(Christy v. Elliot, 216 I 131,
74 HE 1035 LRA NS 1905)Although Mr. Griggs complied to the request, he had the
right to deny production of his driver's license because he was merely traveling in
his own personal vehicle and not driving for pay which is his inalienable right.
       Whereas, there is no question that the issuance of a ticket or citation by a
police offitor or others for certain traffic violations carries a fine or jail time making
it a penalty or sanction. This is considered converting a right into a erime, thus
violating substantive rights. As established in Sherer v. Cullen 481 F. 945, there

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must be an injured party for a crixne to exist and no sanctions or penalties can be
imposed because of this constitutional right.
             WHEREFORE,Mr. Griggs demands judgement for the above
deprivations against all the wrengdoers jointly and severally for actual general,.
special compensatory damagei in the amount of $150,000.00 and further demands
judgement against each wrongdoer jointly and severally for punitive damages in the
amount of $5000.00, plus cost of this action including legal fees and such relief
deemed to be just and equitable.


                                        Count 2
        15 U.S.C. §52 Dissemination of False Advertisements: FRE Rule 406
        This statute makes it unlawful to publicly disseminate an ad that the
advertiser knows contains a false, misleading, or deceptive offer of a product or
service with the intent to promote the sale of said goods or services to the public.
       The patrol cars belonging to the Lanett Police Department all state the
slogan "to protect and serve". According to the US Supreme Court, government
agencies- including police departments- have no duty to provide protection to
citizens, unless they wer,e in custody. As established by the US Supreme Court in
the cases of DeShaney v. Winnebago and Town of Castle Rock v. Gonzales, police
agencies are not obligated to provide protection of citizens. In other words, police
are well within their rights to pick and choose when to intervene to protect the lives
and property of others- even when a threat is apparent. For the cars to convey the
motto to protect and serve is false advertisement because the agency knows that it
is not obligated to provide this service. This gives a false sense of security to citizens
who may feel safe in the presence of a police officer.
              WHEREFORE,.Mr. Griggs demands judgement for the above
disservice against all the wrongdoers jointly and severally for actual general,
special compensatory damages in the amount of $150,000.00 and further demands
judgement against each wrongdoer jointly and severally for punitive damages in the
amount of $5000.00, plus cost of this action including legal fees and such relief
deemed to be just and equitable.


The undersigned being duly sworn imposes and says that he suffers from injuries
and damages inflicted by the defendants who committed acts contrary to
constitutional government institution proven herein and have read the forgoing
filed on my behalf and the facts stated therein are true.

Subscribed and Sworn to on this 11
                                'th day of 4,e,./                 , 2019.



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